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                Exhibit A
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
   UNITED STATES OF AMERICA,                               23-cr-197 (S-1) (JS) (AYS)

          -v-
                                                         PROPOSED JUROR
   GEORGE ANTHONY DEVOLDER                               QUESTIONNAIRE
   SANTOS,
   Also known as “George Santos”

                                  Defendant.

 TO THE PROSPECTIVE JUROR:

         The information that you give in response to the items in this questionnaire will be used
 only by the Court and the parties to select a qualified jury and will not be made public. After a
 jury has been selected, all copies of your questionnaire will be returned to the Clerk of the Court
 and kept in confidence, under seal. The attorneys are under orders to maintain the confidentiality
 of any information they learn in the course of reviewing the questionnaire.

         Please answer each question as completely and accurately as you can. Your complete
 written answers will save a great deal of time for the Court, the parties and you. There are no
 right or wrong answers to the questions. In order to ensure that your answers are not influenced
 by the opinions of others, you should fill out the questionnaire by yourself without consulting or
 talking with any other individuals.

        You are expected to sign your questionnaire, and your answers will have the effect of a
 statement given to the Court under oath. What is needed is your very best, honest effort to
 answer the questions contained in this questionnaire.

         If you cannot answer a question because you do not understand it, write “Do not
 understand” in the space after the question. If you cannot answer because you do not know,
 write “Do not know” in the space after the question. If you need extra space to answer any
 question, please use the extra blank sheets of paper included at the end of the questionnaire. Be
 sure to indicate on the blank page the number of the question you are answering.

        I am sure you understand the importance of juries to our American system of justice. I am
 confident that you also appreciate your duty as a citizen to serve as a juror if you are eligible.
 Your cooperation in completing and returning this “Juror Questionnaire” is a part of that duty.
 Without your help our courts cannot operate properly in accordance with the United States
 Constitution.

          The sole purpose of the questionnaire is to encourage your full expression and honesty, so
 that all parties will have a meaningful opportunity to select a fair and impartial jury to try the
 issues in this case. Thank you for your full cooperation. It is of vital importance to the Court.



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 I.      Background Information

      1. Juror Number: _____ (Please write your assigned juror number on each page of this
         questionnaire)

      2. Age: _____

      3. Gender:
         □ Male □ Female □ They/Them □ Other: ______ □ Prefer not to say

      4. Race/Ethnicity (optional):
         □ White □ Black/African American □ Hispanic/Latino
         □ Asian □ Native American □ Other: ______ □ Prefer not to say

      5. Place of birth: City _____________ State/Country _____________

      6. If not born in the United States, are you a U.S. citizen? □ Yes □ No

      7. What languages do you speak fluently? ____________________

      8. Marital Status:
         □ Single □ Married □ Divorced □ Widowed □ Separated □ Partnered

      9. In what neighborhood of New York do you currently reside? (e.g., Central Islip, East
         Hampton, etc.) ___________________

      10. How long have you lived at your current residence? _________

      11. Do you: □ Own your home □ Rent □ Other: ______________

      12. Do you have children? □ Yes □ No
          If yes, please list their ages: ____________________________

      13. How many people live in your household? _________________

      14. Please list the occupations of any other adults in your household:
          ____________________________________________________

      15. What is your highest level of education completed?
          □ Some high school
          □ High school graduate
          □ Some college
          □ Associate's degree
          □ Bachelor's degree
          □ Graduate degree (please specify): _______________________




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       16. If you attended college, what was your course of study? ______________

       17. What is your current employment status?
           □ Employed full-time □ Employed part-time □ Self-employed
           □ Unemployed □ Student □ Retired □ Homemaker

       18. What is your current occupation and employer? (If retired, please state your most recent
           occupation and employer)
           Occupation: __________________________________________
           Employer: ___________________________________________

       19. How long have you been in this job/position? _______________

       20. Have you ever served in the military? □ Yes □ No
           If yes, please answer the following:
                         i. Branch of service: ___________________________________
                        ii. Years of service: ____________________________________
                      iii. Highest rank achieved: _______________________________
                       iv. Type of discharge: __________________________________

       21. Did you ever serve in a military police unit or have any law enforcement duties while in
           the military? □ Yes □ No

       22. Do you have any close family members who have served or are currently serving in the
           military? □ Yes □ No
           If yes, please specify their relationship to you and branch of service:
           ____________________________________________________

 II.      Media Exposure and Knowledge of the Case

          A. News Consumption

       23. Where do you primarily get your news from? (Check all that apply)
           □ Television □ Radio □ Newspapers □ News websites
           □ Social media □ Podcasts □ Other: ____________________

       24. How often do you follow the news?
           □ Multiple times a day □ Daily □ Several times a week
           □ Weekly □ Rarely □ Never

       25. Which of the following news sources do you regularly use? (Check all that apply)
           □ CNN □ Fox News □ MSNBC □ ABC □ CBS □ NBC
           □ New York Times □ Wall Street Journal □ New York Post
           □ Daily News □ Newsday □ Washington Post □ USA Today
           □ NPR □ Reuters □ Associated Press □ BBC
           □ Other (please specify): _______________________________



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    26. Of the above news sources, which one do you rely on most?
        _______________________________

    27. Which social media platforms do you use regularly? (Check all that apply)
        □ Facebook □ Twitter □ Instagram □ TikTok □ LinkedIn
        □ YouTube □ Reddit □ Other: _________________________

       What are your names/handles on the platforms you use: __________________________

       B. Familiarity with the Case

    28. Have you seen, read, or heard anything about this case involving George Santos?
        □ Yes □ No □ Unsure

    29. If yes, where did you hear about it? (Check all that apply)
        □ Television news □ Newspaper □ Radio □ Internet news site
        □ Social media □ Friends/family □ Other: ________________

    30. What do you recall hearing or reading about this case? Please be specific:
        ____________________________________________________
        ____________________________________________________

    31. Based on what you have heard or read, have you formed any opinion about this case?
        □ Yes □ No □ Unsure
        If yes, what is that opinion? _____________________________
        ____________________________________________________

    32. Have you ever posted anything about this case or George Santos on social media?
        □ Yes □ No

       If yes, please describe the content of your post: ___________________
       __________________________________________________________

       C. Knowledge of George Santos

    33. Before this questionnaire, were you familiar with George Santos?
        □ Yes □ No □ Unsure

    34. If yes, what did you know about him? ____________________
        ____________________________________________________

    35. Are you aware of any controversies or allegations involving George Santos?
        □ Yes □ No □ Unsure
        If yes, please explain: __________________________________
        ____________________________________________________



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    36. To your knowledge, do any of your relatives, close friends, associates, or employers
        personally know the defendant?
        □ Yes □ No □ Unsure

       If yes, how do they know the defendant?
       ____________________________________________________
       ____________________________________________________

    37. Did you or anyone you know vote for George Santos as a candidate for political office?
        □ Yes □ No □ Unsure

    38. Did you or anyone you know ever work or volunteer for George Santos’ campaign for
        office?

    39. Before today, had you read, seen, or heard anything about the defendant or criminal
        charges brought against him?
        □ Yes □ No □ Unsure

    40. Have you formed any opinions about George Santos based on what you have seen, heard,
        or read?
        □ Yes □ No □ Unsure
        If yes, what are those opinions?
        ____________________________________________________
        ____________________________________________________

    41. Do you have any close friends or family members who identify as LGBTQ+?
          □ Yes □ No □ Prefer not to say

    42. How would you describe your general attitude towards LGBTQ+ rights?
          □ Strongly supportive □ Somewhat supportive
          □ Neutral □ Somewhat opposed □ Strongly opposed

       D. Exposure to Political News and Commentary

    43. How would you rate your level of interest in current political news and events?
        □ Very interested □ Somewhat interested □ Not very interested □ Not at all interested

    44. Do you watch or listen to political commentary shows or podcasts?
        □ Yes □ No
        If yes, which ones? ____________________________________

    45. Have you ever attended a political rally or campaign event?
        □ Yes □ No
        If yes, for which candidate(s) or party? ____________________




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        46. Have you ever posted or shared political content on social media?
            □ Yes □ No
            If yes, how often?
            □ Frequently □ Occasionally □ Rarely

        47. Do you follow any politicians or political commentators on social media?
            □ Yes □ No
            If yes, please list a few: ________________________________

        48. Do you believe you can set aside any information you may have heard about this case and
            decide it solely on the evidence presented in court?
            □ Yes □ No □ Unsure
            Please explain: _______________________________________
            ____________________________________________________

 III.      Political Views and Experiences

           A. Political Affiliation and Activity

        49. How would you describe your political views?
            □ Very conservative □ Conservative □ Moderate □ Liberal □ Very liberal
            □ Libertarian □ Other: ____________ □ No political views

        50. Are you registered to vote? □ Yes □ No
            If yes, with which party are you registered?
            □ Democratic □ Republican □ Independent □ Other: ____________

        51. How often do you vote in elections?
            □ Always □ Usually □ Sometimes □ Rarely □ Never

        52. Have you ever made a financial contribution to a political candidate or party?
            □ Yes □ No
            If yes, approximately what amount(s) and how often? ____________________________

        53. Have you, or has any relative or close friend, ever worked for or had any interactions
            with any of the following? (Check all that apply)
            □ U.S. House of Representatives Committee on Ethics
            □ New York State Department of Labor
            □ National Republican Congressional Committee
            □ None of the above

           If yes, please describe elaborate:
           ____________________________________________________
           ____________________________________________________

        54. Have you ever held or ran for a political office? □ Yes □ No



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          If yes, please describe your role: ________________________________
          ____________________________________________________________

       55. Have you ever worked or volunteered for a political campaign? □ Yes □ No
           If yes, please describe your role: ________________________________
           ____________________________________________________________

       56. Have you, or has any relative or close friend, ever worked for a federal elected official?
           □ Yes □ No □ Unsure

       57. Have you, or has any relative or close friend, ever worked or volunteered on a political
           campaign for elected office?
           □ Yes □ No □ Unsure

          If yes, please describe that work:
          ____________________________________________________
          ____________________________________________________

       58. Do you have any political beliefs that might prevent you from being fair and impartial in
           this case?
           □ Yes □ No □ Unsure

          B. Views on Congress and Politicians

       59. How would you rate your overall opinion of the U.S. Congress?
           □ Very favorable □ Somewhat favorable □ Neutral
           □ Somewhat unfavorable □ Very unfavorable

       60. Do you believe most members of Congress are:
           □ Honest and trustworthy □ Mostly honest with some exceptions
           □ Mostly dishonest with some exceptions □ Dishonest and untrustworthy

       61. Do you think politicians should be held to a higher ethical standard than the general
           public?
           □ Yes □ No □ Unsure
           Please explain: _______________________________________________

       62. Do you believe that accusations of misconduct against politicians are usually:
           □ True and substantiated □ Sometimes true, sometimes false
           □ Often exaggerated □ Usually false or politically motivated

 IV.      Law Enforcement and Legal System

       63. Have you ever had any direct interactions with law enforcement officers?
           □ Yes □ No
           If yes, please describe the nature of these interactions: _______________



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       ____________________________________________________________

    64. How would you rate your overall opinion of law enforcement?
        □ Very positive □ Somewhat positive □ Neutral
        □ Somewhat negative □ Very negative

    65. Have you ever been a victim of a crime? □ Yes □ No
        If yes, was the crime reported to law enforcement? □ Yes □ No
        Were you satisfied with how law enforcement handled the situation?
        □ Yes □ No □ Somewhat
        Please explain: _______________________________________________
        Please describe the circumstances, including the type of crime, when it happened, and the
        outcome of any law enforcement action:
        ____________________________________________________
        ____________________________________________________

    66. Do you have any opinion about the enforcement of federal laws that might prevent you
        from being fair and impartial in this case?
        □ Yes □ No □ Unsure

    67. Regarding law enforcement witnesses, would you be:
        □ More likely to believe their testimony
        □ Less likely to believe their testimony
        □ Neither more nor less likely to believe their testimony

       Please explain your answer:
       ____________________________________________________
       ____________________________________________________

    68. Do you believe that the crimes charged in the indictment, as described to you, should not
        be illegal or that such law should not be enforced or prosecuted by the United States
        government?
        □ Yes □ No □ Unsure

    69. Do you have strong views regarding whether the United States Department of Justice
        should or should not pursue charges against candidates for elected office?
        □ Yes □ No □ Unsure

       If yes, please describe those views:
       ____________________________________________________
       ____________________________________________________

    70. Has anyone in your family or close circle of friends ever worked in law enforcement or
        the legal system? □ Yes □ No
        If yes, please specify their relationship to you and their role: _______________________




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   71. Have you or anyone close to you ever been arrested or charged with a crime?
       □ Yes □ No
       If yes, how did this experience affect your view of the legal system? _____
       ____________________________________________________________

   72. Have you ever sat as a juror or grand juror before in any type of case?
       □ Yes □ No

      If yes, please provide the following information:
      Type of court: □ State □ Federal
      Type of case: □ Civil □ Criminal
      Was a verdict reached? □ Yes □ No

      Please indicate where and when you served, and describe, in general terms, the kind of
      case(s) you heard:
      ____________________________________________________
      ____________________________________________________

   73. If you have prior jury experience, is there anything about those experiences that would
       prevent you from acting as a fair and impartial juror in this case?
       □ Yes □ No □ Unsure

      If yes, please explain:
      ____________________________________________________

   74. Have you, or has any relative or close friend, ever worked in law, law enforcement, the
       justice system, or the courts?
       □ Yes □ No □ Unsure

      If yes, in what capacity?
      ____________________________________________________

      Will this influence your ability to render a fair and impartial verdict in this case
      ____________________________________________________

   75. Have you had any contact with anyone in law, law enforcement, the justice system or the
       courts that might influence your ability to render a fair and impartial verdict in this case?
       □ Yes □ No □ Unsure

      If yes, please explain:
      ____________________________________________________
      ____________________________________________________

   76. Have you developed any bias, prejudice, or other feelings for or against any of the
       following? (Check all that apply)
       □ United States Department of Justice



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      □ United States Attorney's Office for the Eastern District of New York
      □ Federal Bureau of Investigation
      □ Other law enforcement agency
      □ None of the above

      If checked any, please explain:
      ____________________________________________________
      ____________________________________________________

   77. Do you or any of your relatives or close friends work for a criminal defense lawyer or
       investigator, or have worked for such a person in the past?
       □ Yes □ No □ Unsure

   78. Do you have any opinions about prosecutors or criminal defense attorneys generally that
       might make it difficult for you to be a fair and impartial juror in this case?
       □ Yes □ No □ Unsure

      If yes, please explain:
      ____________________________________________________
      ____________________________________________________

   79. Have you, or has any relative or close friend, ever participated in a state or federal court
       case, whether criminal or civil, as a witness, plaintiff, or defendant?
       □ Yes □ No □ Unsure

      If yes, what kind of case and what was your role?
      ____________________________________________________

   80. Have you, or has any relative or close friend, ever been the subject of any criminal
       investigation or accusation by any grand jury, state or federal, or any other investigation?
       □ Yes □ No □ Unsure

   81. Have you, or has any relative or close friend – either as an individual or in the course of
       business – ever been a party to a legal action or dispute with the United States, or with
       any of its offices, departments, agencies, or employees?
       □ Yes □ No □ Unsure

   82. Have you had any legal, financial, or other interest in any such legal action or dispute or
       its outcome?
       □ Yes □ No □ Unsure

   83. Have you, or has any relative, ever had a dispute concerning money owed to you by the
       government or owed by you to the government?
       □ Yes □ No □ Unsure




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V.      Experiences Related to the Allegations in the Indictment

     84. Have you or anyone close to you ever been a victim of financial fraud, identity theft, or
         other financial deception?
         □ Yes □ No
         If yes, please describe the experience without providing specific details:
         ____________________________________________________
         ____________________________________________________

     85. Have you or anyone you know ever applied for unemployment insurance benefits?
          □ Yes □ No
         If yes, was such application in connection with the COVID-19 Pandemic?
         □ Yes □ No

     86. How would you rate your knowledge of campaign finance laws?
         □ Very knowledgeable □ Somewhat knowledgeable
         □ Not very knowledgeable □ No knowledge

     87. Are you familiar with the term "FEC" (Federal Election Commission)?
         □ Yes □ No
         If yes, what do you understand its role to be? _____________________
         ___________________________________________________________

     88. To the best of your knowledge, are there limits on how much an individual can contribute
         to a political campaign? □ Yes □ No □ Unsure
         If yes, what do you believe these limits to be? _____________________

     89. Are you familiar with the concept of "Super PACs"? □ Yes □ No
         If yes, what is your understanding of how they operate? _____________
         ___________________________________________________________

     90. Have you, or has any relative or close friend, ever worked for, volunteered for, or
         contributed funds to a Section 501(c)(4) social welfare organization or an independent
         expenditure-only committee (also known as a "Super PAC")?
         □ Yes □ No □ Unsure

        If yes, please elaborate:
        ____________________________________________________
        ____________________________________________________

     91. Do you have any opinions about current campaign finance laws?
         □ Yes □ No
         If yes, please explain: _________________________________________
         ___________________________________________________________

     92. Are you familiar with the process of reporting political contributions?



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         □ Yes □ No □ Somewhat
         If yes or somewhat, what is your understanding of this process? _______
         ___________________________________________________________

      93. Have you, or has any relative or close friend, had any experiences of any kind, directly or
          indirectly, with unemployment insurance benefits fraud, credit card fraud, identity theft,
          or fraud generally?

         If yes, please explain:
         ____________________________________________________
         ____________________________________________________

      94. Have you, or a close relative or friend, ever been accused of or investigated for any type
          of fraud?
          □ Yes □ No
          If yes, please explain the circumstances without providing specific details:
          ___________________________________________________________
              ___________________________________________________________

      95. In your work or personal life, have you ever been responsible for detecting or preventing
          fraud?
          □ Yes □ No
          If yes, please describe your role: ________________________________
          ___________________________________________________________

VI.      Ability to Serve

         A. Time Commitment and Availability

      96. This trial is expected to last approximately 4-6 weeks. Are you able to serve for this
          duration?
             □ Yes □ No □ Unsure
             If no or unsure, please explain: ________________________________
             ___________________________________________________________

      97. Do you have any personal commitments that would make it difficult for you to get to
          court by at least 9:30 a.m. every day of trial, or remain at the courthouse until 5:00 p.m.?
             □ Yes □ No □ Unsure
             If no or unsure, please explain: ________________________________
             ___________________________________________________________

      98. Do you have any pre-planned commitments during the next 6 weeks that cannot be
          rescheduled? (e.g., medical procedures, important family events, pre-paid travel)
             □ Yes □ No
             If yes, please describe (without providing specific dates): ___________
             ___________________________________________________________



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   99. Would serving on this jury create any undue financial hardship for you?
         □ Yes □ No
         If yes, please explain: ________________________________________

   100.        Does your employer pay you for jury duty?
          □ Yes □ No □ I am not currently employed
          If no, would this create a hardship for you? □ Yes □ No

   101.        Do you have any caregiving responsibilities that might interfere with your ability
      to serve?
          □ Yes □ No
          If yes, please explain: ________________________________________

      B. Physical or Mental Health Considerations

   102.       Do you have any physical health issues that might affect your ability to serve as a
      juror? (e.g., difficulty sitting for long periods, hearing problems)
         □ Yes □ No
         If yes, please explain: ________________________________________

   103.       Do you have any mental health issues that might affect your ability to serve as a
      juror? (e.g., anxiety, difficulty concentrating)
         □ Yes □ No
         If yes, please explain: ________________________________________

   104.       Are you currently taking any medications that might affect your ability to
      concentrate or stay alert during trial proceedings?
         □ Yes □ No
         If yes, please explain (without naming specific medications): ________
         ___________________________________________________________

   105.       Do you have any concerns about your ability to handle the stress of serving on a
      jury in a high-profile case?
         □ Yes □ No
         If yes, please explain: ________________________________________

      C. Language Proficiency

   106.        Is English your first language?
          □ Yes □ No
          If no, what is your first language? ______________________________

   107.        Do you have any difficulty reading, writing, or understanding English?
          □ Yes □ No
          If yes, please explain: ________________________________________



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   108.       Would you feel comfortable deliberating in English with other jurors?
          □ Yes □ No □ Unsure

   109.       Do you think you would need any language accommodations to serve effectively
      as a juror?
         □ Yes □ No
         If yes, what kind of accommodations? ___________________________

      D. Ability to Follow Legal Instructions

   110.        The law requires that jurors must presume the defendant innocent unless the
      government proves guilt beyond a reasonable doubt. Do you have any hesitation about
      following this instruction?
          □ Yes □ No
          If yes, please explain: ________________________________________

   111.       Can you commit to basing your verdict solely on the evidence presented in court
      and the judge's instructions on the law, rather than on any outside information or personal
      beliefs?
         □ Yes □ No □ Unsure
         Please explain: ______________________________________________

   112.      Would you have any difficulty following a legal instruction from the judge even if
      you personally disagreed with it?
         □ Yes □ No □ Unsure
         Please explain: ______________________________________________

   113.      Do you understand that the burden of proof is on the government and that the
      defendant is not required to present any evidence or testify?
         □ Yes □ No

   114.     If the defendant chooses not to testify, would you hold that against him in any
      way?
        □ Yes □ No □ Unsure
        Please explain: ______________________________________________

   115.        Can you commit to not discussing the case with anyone, including family and
      friends, and to avoiding all media coverage of the case during the trial?
          □ Yes □ No □ Unsure
          If no or unsure, please explain: ________________________________

   116.       Do you have any concerns about your ability to be a fair and impartial juror in this
      case?
         □ Yes □ No
         If yes, please explain: ________________________________________



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   117.        Is there any other reason, not covered in this questionnaire, that might affect your
      ability to serve as a fair and impartial juror in this case?
         □ Yes □ No
         If yes, please explain: ________________________________________
         ___________________________________________________________

VII.   Juror Rights and Responsibilities

   118.       Do you understand that as a juror, you would be:
          a) A judge of the facts presented in evidence?
              □ Yes □ No
          b) Required to apply the law as instructed by the judge, even if you disagree with it?
              □ Yes □ No

   119.       Do you have any concerns about your ability to fulfill the responsibilities of a
      juror? □ Yes □ No
         If yes, please explain: ________________________________________

   120.      Do you understand that sympathy, bias, and prejudice should not play any part in
      your deliberations as a juror? □ Yes □ No

   121.      Do you understand that the defendant is presumed innocent until proven guilty
      beyond a reasonable doubt?
         □ Yes □ No

   122.       Do you have any hesitation about applying the presumption of innocence in this
      case?
         □ Yes □ No
         If yes, please explain: ________________________________________

   123.      Do you understand that the burden of proof is always on the government and
      never shifts to the defendant?
         □ Yes □ No

   124.       If, after hearing all the evidence, you had a reasonable doubt about the defendant's
      guilt, would you be able to find him not guilty?
         □ Yes □ No □ Unsure
         Please explain: ______________________________________________

   125.      Do you understand that the Indictment is not evidence of guilt, but merely a
      formal accusation?
         □ Yes □ No

   126.      Do you understand that the defendant has no obligation to testify or present any
      evidence in his defense?



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            □ Yes □ No

   127.       If the defendant chooses not to testify, would you be able to follow the judge's
      instruction not to hold that against him in any way?
         □ Yes □ No □ Unsure
         Please explain: ______________________________________________

   128.       Are you willing to keep an open mind throughout the trial and reserve judgment
      until you have heard all the evidence and the judge's instructions on the law?
         □ Yes □ No □ Unsure
         Please explain: ______________________________________________

   129.       Do you accept that a defendant:
      a) Need not present any evidence at all?
        □ Yes □ No □ Unsure

         b) Is not required to testify on his own behalf?
         □ Yes □ No □ Unsure

         c) Is presumed innocent unless the government proves an allegation beyond a reasonable
doubt?
         □ Yes □ No □ Unsure

         If you answered No or Unsure to any of the above, please explain:
         ____________________________________________________

   130.       Do you have any difficulty accepting that the jury's role is to decide questions of
      fact, while taking instructions on the law from the Court?
      □ Yes □ No □ Unsure

         If yes, please explain:
         ____________________________________________________
         ____________________________________________________

   131.      Would you have any hesitation or reservation about following the law as
      explained by the Court, even if you disagree with the law?
      □ Yes □ No □ Unsure

         If yes, please explain:
         ____________________________________________________
         ____________________________________________________

   132.      Do you accept that the question of punishment is for the Court alone to decide and
      must not enter into your deliberations?
      □ Yes □ No □ Unsure




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   133.      Do you accept that sympathy or empathy must not enter into your deliberations,
      and that only the evidence presented in court may be used to determine guilt?
      □ Yes □ No □ Unsure

   134.      If the evidence established a defendant's guilt beyond a reasonable doubt, would
      you be able to render a guilty verdict?
      □ Yes □ No □ Unsure

      If no or unsure, please explain:
      ____________________________________________________

VIII. Additional Information

      A. Any Other Relevant Information

   135.       Is there anything else you believe the Court should know about you that might be
      relevant to your service as a juror in this case?
         □ Yes □ No
         If yes, please explain: ________________________________________
         ___________________________________________________________
         ___________________________________________________________

   136.      Are there any topics or issues not covered in this questionnaire that you think
      might affect your ability to be a fair and impartial juror in this case?
        □ Yes □ No
        If yes, please explain: ________________________________________
        ___________________________________________________________
        ___________________________________________________________

      B. Questions or Concerns for the Court

   137.       Do you have any questions about jury service or this case that you would like to
      ask the Court?
         □ Yes □ No
         If yes, please list your questions: _______________________________
         ___________________________________________________________
         ___________________________________________________________




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                                           Certification

        I declare under penalty of perjury that the foregoing answers are true and correct to the
best of my knowledge and belief. I understand that if I have intentionally provided false
information in this questionnaire, I may be subject to penalties for perjury.

Juror Number: ___________

Date: ___________________

Signature: ______________________________________________




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